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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NOS. 2:05-00107-01
                                                           2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


             On May 4, 2009, the court entered a sealed memorandum

opinion and order addressing defendants’ second motion for new

trial.     At 3:00 p.m. the same day, the court heard counsel for

the parties during a telephonic conference respecting any

proposed redactions to the memorandum opinion and order.


             The court was previously made aware of the subject

juror’s general objection to public access during the evidentiary

hearings held in this matter.         The court considered those

concerns in assessing the privacy issues presented in the case.


             During the May 4, 2009, telephonic conference, the

United States proposed additionally that the court redact the

following information from the memorandum opinion and order:

      1.     Twenty-one words on page 3, at lines 1 through 3,

             beginning with “at a time” and ending with “picked up
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            by”;

      2.    Twenty-four words on page 3, at lines 6 through 8,

            beginning with “and” and ending with “the home”;

      3.    Five words on page 18, footnote 6, beginning with “as”

            and ending with “old”; and

      4.    Five words on page 42, beginning with “at” and ending

            with “age”.


            Defendants offered no requests for redaction and

opposed the United States’ limited proposal for confidentiality.

As noted by the court at multiple points during the pendency of

these criminal cases, the sealing of court records and

proceedings is a matter of utmost concern.            The “[p]ublicity of

[court] . . . records [and proceedings] . . . is necessary in the

long run so that the public can judge the product of the courts

in a given case.”      Columbus-America Discovery Group v. Atlantic

Mut. Ins. Co., 203 F.3d 291, 303 (4th Cir. 2000).              This interest

would seem especially important in the context of a capital

prosecution wherein there is an allegation of an irregularity

tainting the process that resulted in two death verdicts.


            The right of public access to court documents derives

from two separate sources: the common law and the First

Amendment.    See Globe Newspaper Co. v. Superior Court, 457 U.S.

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596, 603 (1982); United States v. Soussoudis (In re Washington

Post Co.), 807 F.2d 383, 388 (4th Cir. 1986).             The common law

right of access affords presumptive viewing of all judicial

records and documents.      Nixon v. Warner Comms., Inc., 435 U.S.

589, 597 (1978); Stone v. University of Md. Medical Sys. Corp.,

855 F.2d 178, 180 (4th Cir. 1988).


            Submitted documents within the common-law right may be

sealed, however, if competing interests outweigh the public's

right of access.      Nixon, 435 U.S. at 598-99, 602-03; In re Knight

Publishing Co., 743 F.2d 231, 235 (4th Cir. 1984).              Quoting

Knight, our court of appeals observed recently as follows:

      Some of the factors to be weighed in the common law
      balancing test “include whether the records are sought
      for improper purposes, such as promoting public
      scandals or unfairly gaining a business advantage;
      whether release would enhance the public's
      understanding of an important historical event; and
      whether the public has already had access to the
      information contained in the records.”

Virginia Dept. of State Police v. Washington Post, 386 F.3d 567,

575 (4th Cir. 2004) (quoting Knight, 743 F.2d at 235) (emphasis

supplied).


            Assuming the First Amendment right applies to the

particular documents for which a sealing order is sought, a

sealing proponent’s burden is more substantial.             To obtain a


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sealing order under the First Amendment rubric, a movant must

show "the denial [of access] is necessitated by a compelling

governmental interest, and is narrowly tailored to serve that

interest."    Globe Newspaper Co. v. Superior Court, 457 U.S. 596,

606-07 (1982); Virginia, 386 F.3d at 573; Stone, 855 F.2d at 180.


            The redaction requests submitted by the United States,

though limited in scope and presented out of an expressed concern

that the offending juror not be unduly chastised, would deny the

general public an awareness of all facts bearing upon the

decision to grant a new trial.         Without those facts, it would be

difficult to assess the proper functioning of the criminal case

judicial process in the midst of allegations of juror misconduct.

In particular, the subject juror’s contacts with law enforcement,

the gravity of the investigation to which he was subjected, and

the effect the contacts and investigation may have had on his

jury service substantially inform application of at least one

facet of the standard governing the propriety of a new trial,

namely, whether his “‘motives for concealing information’ or the

‘reasons that affect [his] . . . impartiality can truly be said

to affect the fairness of [the] trial.’”              Conaway v. Polk, 453

F.3d 567, 588 (4th Cir. 2006).


            It is doubtless the case, as advanced earlier in these

proceedings by the subject juror, that the relevant facts and


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circumstances surrounding his misconduct may impact his privacy

interests and community standing.             Balancing those concerns

against the presumptive right of public access, however, and his

unmitigated blameworthiness necessitating new trials in these

complex and expensive criminal proceedings, the subject juror’s

privacy interests must yield to the general public’s right to

know all facts bearing upon the necessity for a new trial.


            The court, accordingly, ORDERS that the United States’

requests for redactions be, and they hereby are, denied.


            The Clerk is directed to send a copy of this written

opinion and order to all counsel of record.


                                     DATED:    May 5, 2009


                                     John T. Copenhaver, Jr.
                                     United States District Judge




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